                                               Case 2:22-cv-00143-JAD-VCF Document 25 Filed 05/02/22 Page 1 of 3



                                           1    JOHN HENRY WRIGHT, ESQ.
                                                Nevada Bar No. 6182
                                           2    THE WRIGHT LAW GROUP, P.C.
                                                2340 Paseo Del Prado, Suite D-305
                                           3    Las Vegas, Nevada 89102
                                                Telephone: (702) 405-0001
                                           4    Facsimile: (702) 405-8454
                                                Email: john@wrightlawgroupnv.com
                                           5
                                                Attorney for Plaintiff
                                           6    Twinrock Holdings, LLC
                                                                         UNITED STATES DISTRICT COURT
                                           7
                                                                                  DISTRICT OF NEVADA
                                           8
                                           9     TWINROCK HOLDINGS, LLC, a Utah                     CASE NO: 2:22-cv-00143-JAD-VCF
                                                 Limited Liability Company,
                                          10
                                                                    Plaintiff,
Te : (702) 405-0001 Fax: (702) 405-8454




                                          11
2340 Paseo De Prado, Su te D-305




                                                 vs.                                                        ECF Nos. 20, 23
THE WRIGHT LAW GROUP P.C.




                                          12
                                                 CITIMORTGAGE, INC., a New York
Las Vegas, Nevada 89102




                                          13     Corporation; NATIONAL DEFAULT
                                                 SERVICING CORPORATION, a foreign
                                          14     corporation; BRECKENRIDGE PROPERTY
                                                 FUND 2016, LLC, a foreign Limited Liability
                                          15     Company, DOES I through X, inclusive; and
                                                 ROE ENTITIES XI through XX,
                                          16
                                                                    Defendants.
                                          17
                                                        STIPULATION TO FILE AMENDED COMPLAINT NUNC PRO TUNC
                                          18
                                          19           COME NOW, Plaintiff TWINROCK HOLDINGS, LLC, by and through its counsel of

                                          20    record, John Henry Wright, Esq., of The Wright Law Group, P.C., and Defendant

                                          21    CITIMORTGAGE, INC., by and through its counsel of record, David T. Blake, Esq., of Wolfe &

                                          22    Wyman, LLP, hereby stipulate and agree as follows:

                                          23           WHEREAS, TWINROCK HOLDINGS, LLC (“TWINROCK”), filed its Complaint in the

                                          24    Eighth Judicial District Court, Clark County, Nevada, (“State Court”) under Case No. A-22-

                                          25    846539-C on January 11, 2022. The same was served on CITIMORTGAGE, INC. (“CITI”), and

                                          26    NATIONAL DEFAULT SERVICING CORPORATION (“NATIONAL”) on January 14, 2022.

                                          27           WHEREAS, NATIONAL filed a Declaration of Non-monetary Status pursuant to NRS

                                          28    107.029 with the State Court on January 26, 2022.


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                                           1           WHEREAS, CITI filed a Notice of Removal to Federal Court on January 26, 2022. (ECF
                                           2    #1).
                                           3           WHEREAS, CITI filed a Motion to Dismiss Complaint on February 4, 2022. (ECF #4).
                                           4           WHEREAS, TWINROCK filed an Amended Complaint on March 25, 2022. (ECF #14),
                                           5    which was more than 21 days after CITI filed its Motion to Dismiss, and which violated FRCP
                                           6    15(a)(2). (ECF #4).
                                           7           WHEREAS, NATIONAL filed a Motion to Strike Amended Complaint on April 8, 2022,
                                           8    alleging that the Amended Complaint violated FRCP 15(a)(2). (ECF #19).
                                           9           WHEREAS, TWINROCK and NATIONAL stipulated to dismiss NATIONAL as a
                                          10    defendant, with prejudice on April 20, 2022. (ECF #22) making the motion moot or withdrawn.
Te : (702) 405-0001 Fax: (702) 405-8454




                                          11           WHEREAS, Federal Rule of Civil Procedure 15(a)(2) permits any party to file an amended
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                                          12    pleading “with the opposing party’s written consent”. At the time of the filing of the Amended
Las Vegas, Nevada 89102




                                          13    Complaint, the only parties to the action were Plaintiff, NATIONAL and CITI.
                                          14           BASED ON THE FOREGOING, TWINROCK and CITI STIPULATE AND AGREE AS
                                          15    FOLLOWS:
                                          16           1.     CITI consents to the filing of the Amended Complaint that was filed on March 25,
                                          17    2022, without the need to withdraw or re-file the same; and
                                          18           2.     Within twenty-one (21) days after the entry of this Stipulation and Order,
                                          19    Defendants shall file its response to the Amended Complaint; and
                                          20           3.     The Parties request that the Court enter this Stipulation and Order nunc pro tunc
                                          21    as to the original date of the filing of the Amended Complaint, which is March 25, 2022.
                                          22           The parties have entered into the agreement in good faith and not for any improper purpose
                                          23    or delay.
                                          24
                                          25
                                          26                          [SIGNATURES CONTINUE ON NEXT PAGE]
                                          27
                                          28


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                                           1                                                                  Stipulation to File Amended
                                                                                                                 Complaint Nunc Pro Tunc
                                           2                                                            CASE NO: 2:22-cv-00143-JAD-VCF
                                           3
                                           4
                                           5           IT IS SO STIPULATED.
                                           6
                                                Dated this 29th day of April, 2022.              Dated this 29th day of April, 2022.
                                           7
                                                 THE WRIGHT LAW GROUP, P.C.                      WOLFE &WYMAN LLP
                                           8
                                           9     /s/ John Henry Wright , Esq.                     /s/ David Blake, Esq
                                                JOHN HENRY WRIGHT, ESQ.                          DAVID T. BLAKE, ESQ.
                                          10    Nevada Bar No. 6182                              Nevada Bar No. 11059
Te : (702) 405-0001 Fax: (702) 405-8454




                                                2340 Paseo Del Prado, Suite D-305                6757 Spencer Street
                                          11    Las Vegas, NV 89102                              Las Vegas, NV 89119
2340 Paseo De Prado, Su te D-305
THE WRIGHT LAW GROUP P.C.




                                          12    Attorney for Plaintiff                           Attorneys for Defendant
                                                Twinrock Holding, LLC                            Citimortgage, Inc
Las Vegas, Nevada 89102




                                          13
                                          14
                                                                                      ORDER
                                          15
                                          16          Based on the parties' stipulation [ECF No. 23], IT IS SO ORDERED. IT IS FURTHER
                                                ORDERED that Defendant Breckenridge Property Fund 2016, LLC's motion to dismiss [ECF
                                          17    No. 20] is DENIED as moot.
                                          18                                             _________________________________
                                          19                                             U.S. District Judge Jennifer A. Dorsey
                                                                                         Dated: May 2, 2022
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